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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF AARON S. CRAIG
                                               IN SUPPORT OF DEFENDANTS NSO
13               Plaintiffs,                   GROUP TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED’S ADMINISTRATIVE
                                               MOTION TO FILE UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         FILED UNDER SEAL
16
                 Defendants.                   [UNREDACTED VERSION OF
17                                             DOCUMENT SOUGHT TO BE SEALED]
18                                             HIGHLY CONFIDENTIAL—
                                               ATTOREYS’ EYES ONLY
19
                                               Judge: Hon. Phyllis J. Hamilton
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                                               Action Filed: 10/29/2019
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      CRAIG DECL.                                                   Case No. 4:19-cv-07123-PJH
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 1            I, Aaron S. Craig, declare as follows:

 2            1.      I am a member of the California State Bar and the bar of this court, a partner in the

 3   law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4   Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5   made in support of Defendants’ August 25, 2023, Administrative Motion to Seal and in support of

 6   Defendants’ Opposition to Plaintiffs’ Administrative Motion (ECF No. 202-5). I have personal

 7   knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 8   to each fact averred herein.

 9            2.      The Complaint was filed on October 29, 2019. (Dkt. 1.) Defendants were served

10   on March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. 45.)

11   Plaintiffs served their RFPs on June 4, 2020, seeking swaths of information

12                                          if Defendants were forced to produce. This Court stayed

13   discovery shortly after Plaintiffs served their RFPs. (Dkt. 155.) After the stay ended, the Court

14   held a status conference at which it instructed the parties to meet and confer over the

15                 on Plaintiffs’ RFPs and if the parties cannot resolve the issue, for Defendants to file a

16   motion for protective order. The parties met and conferred but could not reach a resolution, forcing

17   Defendants to file a motion for protective order. After the motion for protective order was fully

18   briefed, Plaintiffs filed on June 23, 2023 an Administrative Motion for an Order Regarding NSO’s

19   Document Preservation (the “Preservation Administrative Motion”). (Dkt. No. 197.) Defendants

20   opposed the Preservation Administrative Motion on June 27, 2023.                  (Dkt. No. 198-4.)

21   Subsequently, on August 21, 2023, Plaintiffs filed an Administrative Motion for Leave to File

22   Supplemental Brief in Support of Administrative Motion for an Order Regarding NSO’s

23   Document Preservation Obligations (the “Administrative Motion”). (Dkt. No. 202-5.)

24            3.      Defendants seek to file under seal documents (the “Sealed Documents”1) related to

25   and in connection with Defendants’ concurrently filed Opposition to Plaintiffs’ Administrative

26   Motion.

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28   1
         The Sealed Documents are enumerated in paragraph 11, below.
         CRAIG DECL.                                       1                      Case No. 4:19-cv-07123-PJH
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     Case 4:19-cv-07123-PJH Document 205-2 Filed 08/25/23 Page 4 of 9




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 3                                         The request prohibited Defendants from

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11         5.     On July 19, 2020,

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26         6.     On July 19, 2020,

27                                                                              The letter

28 notified Defendants about the
      CRAIG DECL.                         3                      Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 205-2 Filed 08/25/23 Page 5 of 9




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 5                            including a prohibition on

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 8          7.     On February 8, 2023,

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11 purpose for this update, according to

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14          8.     On May 21, 2023,

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       CRAIG DECL.                                 4         Case No. 4:19-cv-07123-PJH
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 1          9.

 2                                                                      At the time Defendants first

 3   received

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 5                         Through their counsel in

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 8   disclosure of                 to this Court and to Plaintiffs’ counsel. In seeking the

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       CRAIG DECL.                                 5                        Case No. 4:19-cv-07123-PJH
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 1          11.     Defendants seek to file under seal: (1) Exhibit A to this declaration, certain

 2   language on pages 1 and 2 of Defendants’ Opposition to Plaintiffs’ Administrative Motion and (2)

 3   portions of paragraphs 2-10 and 12 of this Declaration.

 4          12.     Good cause exists to seal each of the above-listed documents because the Sealed

 5   Documents come from or make reference to

 6                                                                                   , which is entitled

 7 to deference.

 8                  a.     First, the Sealed Documents relate to

 9                                                                                             As such,

10 the Sealed Documents contain traditionally nonpublic government information for which there is

11 no constitutional right of access. See, e.g., N.Y. Times Co. v. U.S. Dep't of Justice, 806 F.3d 682,

12 688 (2d Cir. 2015) (“As a general rule, there is no constitutional right of access to traditionally

13 nonpublic government information.”) The fact that the documents were issued by

14                                             and contain

15                                            “alone counsels in favor of finding that there is no

16 presumptive public right of access” to these documents. Omari v. Ras Al Khaimah Free Trade

17 Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017) (sealing a white paper

18 commissioned by a ruler of a political subdivision of foreign nation because it contained “highly

19 sensitive, traditionally nonpublic government information, in this case of a foreign government”);

20 see also In re Terrorist Attacks on Sept. 11, 2001, , 2019 WL 3296959, at *5 (S.D.N.Y. July 22,

21 2019) (sealing multiple documents and finding that the documents contained “traditionally

22 nonpublic information” because the documents involved senior foreign officials, were designated

23 as sensitive at the time of creation, and detailed information about the nation’s response to certain

24 investigations).

25                  b.     Second,

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 2                                        Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct.,

 3   482 U.S. 522, 543 n. 27 (1987).

 4                                                        United States v. Sater, 2019 WL 3288289, at

 5   *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in this case, the documents sought

 6   to be sealed

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15                  c.     Third, because

16                           public disclosure of the Sealed Documents could

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21          13.     Accordingly, good cause (and, if necessary, a compelling reason) exists to seal each

22 of the above-listed documents, and Defendants respectfully request that the Court grant the

23 accompanying Administrative Motion to File Under Seal and order the Sealed Documents be kept

24 under seal.

25          14.     The Declarant has carefully sought sealing of only those parts of this Declaration

26 as are necessary to comply with other legal obligations binding on Defendants, as described

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 1   above, and, on behalf of Defendants, respectfully submits that the good cause and compelling

 2   reasons standards are met with respect to the Sealed Documents.4

 3           I declare under the penalty of perjury and the laws of the United States that the foregoing

 4 is true and correct this 25th day of August 2023, at Pasadena, California.

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 6                                         /s/ Aaron S. Craig
                                             AARON S. CRAIG
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27   To the extent the Court disagrees with Defendants’ sealing request, the Declarant respectfully
   requests that the Sealed Materials and the unredacted version of this Declaration be stricken from
28 the docket of this action and that any copies thereof be destroyed.
         CRAIG DECL.                                  8                         Case No. 4:19-cv-07123-PJH
